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                                                                                       By s/*SHAKIRA TODD
                              UNITED STATES JUDICIAL PANEL                               DEPUTY CLERK
                                          on                                    U.S. DISTRICT COURT, NORTHERN
                                                                                       DISTRICT OF TEXAS
                               MULTIDISTRICT LITIGATION
                                                                                         December 16, 2014


IN RE: INTRAMTA SWITCHED ACCESS
CHARGES LITIGATION                                                                       MDL No. 2587


                      TRANSFER ORDER WITH SIMULTANEOUS
                   SEPARATION AND REMAND OF CERTAIN CLAIMS


        Before the Panel:* Plaintiffs in one Western District of Louisiana action and common
defendants in the remaining 27 actions listed on Schedule A1 move under 28 U.S.C. § 1407 to
centralize pretrial proceedings in this litigation in the Northern District of Texas or, alternatively, the
Northern District of Georgia or the Eastern District of Michigan. Movants also request that the Panel
transfer only Sprint’s counterclaims against CenturyLink and separate and remand CenturyLink’s
original claims against Sprint to the Western District of Louisiana. The litigation consists of 28
actions pending in 21 districts, as listed on Schedule A.2

        Responding parties have taken a variety of positions in response to this motion for
centralization. More than 100 defendant LECs in approximately 50 actions and potential tag-along
actions support centralizing all CenturyLink and non-CenturyLink cases, as does plaintiff Verizon.3
More than 35 defendant LECs in two actions oppose centralization, as does plaintiff Sprint
Communications Co., LP (Sprint). More than 60 defendant LECs in approximately eighteen actions
and potential tag-along actions oppose inclusion of claims against them (most of these LECs
alternatively support inclusion of all claims against them, including those pending in non-CenturyLink
cases). More than 40 defendant LECs in five non-CenturyLink cases oppose inclusion of the non-
CenturyLink cases. At least two groups of defendants favor the Northern District of Georgia as
transferee district, in the first instance or in the alternative. One of these groups also supports


          *
                Judge Sarah S. Vance and Judge Charles R. Breyer took no part in the decision of this
matter.
          1
                Movants are 79 commonly-owned and commonly-managed subsidiaries of
CenturyLink, Inc. (collectively, CenturyLink). These subsidiaries are local exchange carriers (LECs)
that provide local telephone services throughout much of the country. Besides CenturyLink LECs,
the actions on the motion name over 300 other LECs as defendants.
          2
                The Panel is aware of 45 additional actions pending in 27 districts, most of which do
not involve CenturyLink (the non-CenturyLink cases). These actions and any other related actions
are potential tag-along actions. See Panel Rules 1.1(h), 7.1, and 7.2.
          3
                MCI Communications Service, Inc. and Verizon Select Services, Inc.
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centralization in the Northern District of Texas. Verizon suggests centralization in the District of
Minnesota or, alternatively, the Eastern District of Michigan, the Southern District of Ohio, or the
Northern District of Texas. Sprint supports centralization in the District of Minnesota or another
convenient court without a congested docket, and suggests the Eastern District of Michigan or the
Western District of Missouri as possibilities.

        On the basis of the papers filed and hearing session held, we find that these 28 actions involve
common questions of fact, and that centralization in the Northern District of Texas will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of the litigation.
The subject actions share factual issues arising from allegations that defendant LECs improperly billed
Verizon and Sprint for switched access charges for IntraMTA calls—calls originated and terminated
in the same major trading area. Centralization will eliminate duplicative discovery, prevent
inconsistent pretrial rulings, and conserve the resources of the parties, their counsel, and the judiciary.

        The parties opposing centralization argue that these actions share common legal issues, but
do not share sufficient issues of fact, and that most common factual issues will be undisputed. Those
parties supporting centralization point to various issues of fact that they contend will be in dispute,
including alleged implied-in-fact contracts based on plaintiffs’ uniform conduct in paying these
charges for the past eighteen years without complaint. We are persuaded that there are sufficient
complex common questions of fact to warrant centralization here. We also are persuaded that
centralization will lessen the risk of inconsistent pretrial rulings on, for example, whether certain legal
issues in this litigation should be referred to the Federal Communications Commission.

         Several smaller LEC defendants argue that centralization will be inconvenient. We find that
the sheer number of parties and courts involved here favors Section 1407 centralization rather than
informal coordination. Moreover, while transfer of a particular action might inconvenience some
parties to that action, such transfer often is necessary to further the expeditious resolution of the
litigation taken as a whole. See, e.g. In re: Crown Life Ins. Premium Life Ins. Litig., 178 F. Supp.
2d 1365, 1366 (J.P.M.L. 2001).

       Most parties agree that, if the Panel deems centralization to be appropriate, all CenturyLink
and non-CenturyLink actions should be included. This order applies to only the 28 actions on
CenturyLink’s Section 1407 motion for centralization. The non-CenturyLink actions are potential
tag-along actions and their inclusion will be considered in due course. See Panel Rules 1.1(h), 7.1,
and 7.2.

        No party opposes CenturyLink’s request to sever and remand CenturyLink’s original claims
in the Western District of Louisiana CenturyTel action, relating to VoIP calls, and to include only
Sprint’s counterclaims regarding IntraMTA calls. We agree that the VoIP claims are not related to
the common IntraMTA call claims present in all other actions, and they will be separated and
remanded.

        The Northern District of Texas is an appropriate transferee district for pretrial proceedings
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                                                 -3-

in this litigation. Several defendants support centralization there, and Verizon agrees it would be an
appropriate transferee district. Dallas, Texas is an easily accessible and central location. Judge
Sidney A. Fitzwater, who is presiding over a case brought by Verizon, is an experienced transferee
judge who we are confident will steer this litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Texas, and, with the consent of that court, assigned to the Honorable Sidney A.
Fitzwater for coordinated or consolidated pretrial proceedings.

        IT IS FURTHER ORDERED THAT CenturyLink’s claims against Sprint in the Western
District of Louisiana CenturyTel action are separated and simultaneously remanded, under 28 U.S.C.
§ 1407(a), to the Western District of Louisiana.




                                       PANEL ON MULTIDISTRICT LITIGATION




                                                          Marjorie O. Rendell
                                                            Acting Chair

                                       Lewis A. Kaplan                Ellen Segal Huvelle
                                       R. David Proctor               Catherine D. Perry
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IN RE: INTRAMTA SWITCHED ACCESS
CHARGES LITIGATION                                               MDL No. 2587


                                         SCHEDULE A


          District of Delaware

    MCI COMMUNICATION SERVICES, INC., ET AL. v. AT&T COMMUNICATIONS
         OF TEXAS LLC, ET AL., C.A. No. 1:14-01138

          Northern District of Florida

    SPRINT COMMUNICATIONS COMPANY LP v. EMBARQ FLORIDA, INC., ET AL.,
         C.A. No. 4:14-00230

          Southern District of Florida

    MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTURYLINK
         COMMUNICATIONS, ET AL., C.A. No. 1:14-23305

          Northern District of Georgia

    SPRINT COMMUNICATIONS COMPANY L.P. v. BELLSOUTH
         TELECOMMUNICATIONS, LLC, ET AL., C.A. No. 1:14-01657
    MCI COMMUNICATIONS SERVICES, INC., ET AL. v. ACN COMMUNICATION
         SERVICES, INC., ET AL., C.A. No. 1:14-02878

          Central District of Illinois

    MCI COMMUNICATIONS SERVICES, ET AL. v. ILLINOIS BELL TELEPHONE,
         ET AL., C.A. No. 2:14-02212

          Southern District of Indiana

    SPRINT COMMUNICATIONS COMPANY L.P. v. INDIANA BELL TELEPHONE
         COMPANY INCORPORATED, ET AL., C.A. No. 1:14-01006

          Southern District of Iowa

    MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTRAL SCOTT
         TELEPHONE COMPANY, ET AL., C.A. No. 3:14-00101
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MDL No. 2587 Schedule A (Continued)


            District of Kansas

      SPRINT COMMUNICATIONS COMPANY, LP v. UNITED TELEPHONE COMPANY
           OF KANSAS, ET AL., C.A. No. 2:14-02213
      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. BLUE VALLEY
           TELE-COMMUNICATIONS, INC., ET AL., C.A. No. 2:14-02448

            Western District of Louisiana

      CENTURYTEL OF CHATHAM LLC, ET AL. v. SPRINT COMMUNICATIONS
           CO. L P, C.A. No. 3:09-01951

            Western District of Michigan

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. ACE TELEPHONE
           COMPANY OF MICHIGAN, INC., ET AL., C.A. No. 1:14-00937

            District of Minnesota

      SPRINT COMMUNICATIONS COMPANY L.P. v. QWEST CORPORATION,
           ET AL., C.A. No. 0:14-01387
      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. QWEST CORPORATION,
           ET AL., C.A. No. 0:14-03385

            Western District of Missouri

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTURYTEL OF
           MISSOURI, LLC (BELLE-HERMAN), ET AL., C.A. No. 5:14-06099

            District of New Jersey

      SPRINT COMMUNICATIONS COMPANY L.P. v. UNITED TELEPHONE COMPANY
           OF NEW JERSEY, C.A. No. 1:14-03147

            Eastern District of North Carolina

      SPRINT COMMUNICATIONS COMPANY L.P. v. CAROLINA TELEPHONE AND
           TELEGRAPH COMPANY, LLC, ET AL., C.A. No. 5:14-00317
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MDL No. 2587 Schedule A (Continued)


            Eastern District of North Carolina (Cont.)

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. ATLANTIC TELEPHONE
           MEMBERSHIP CORPORATION, ET AL., C.A. No. 7:14-00188

            Northern District of Ohio

      SPRINT COMMUNICATIONS COMPANY L.P. v. UNITED TELEPHONE
           COMPANY OF OHIO, ET AL., C.A. No. 1:14-01380
      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTURYTEL OF
           OHIO, INC., ET AL., C.A. No. 1:14-01977

            Middle District of Pennsylvania

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. FIBERNET
           TELECOMMUNICATIONS OF PENNSYLVANIA, LLC, ET AL.,
           C.A. No. 1:14-01735

            Northern District of Texas

      SPRINT COMMUNICATIONS COMPANY LP v. CENTRAL TELEPHONE
           COMPANY OF TEXAS, ET AL., C.A. No. 3:14-01724
      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CAMERON TELEPHONE
           COMPANY LLC, ET AL., C.A. No. 3:14-03210

            Western District of Virginia

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. BUGGS ISLAND TELEPHONE
           CO-OPERATIVE, ET AL., C.A. No. 5:14-00047
      SPRINT COMMUNICATIONS COMPANY, L. P. v. CENTRAL TELEPHONE
           COMPANY OF VIRGINIA, ET AL., C.A. No. 7:14-00298

            Eastern District of Washington

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTURYTEL OF
           COWICHE INC, ET AL., C.A. No. 1:14-03131
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MDL No. 2587 Schedule A (Continued)


            Western District of Washington

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. CENTURYTEL OF
           INTER-ISLAND, INC., ET AL., C.A. No. 2:14-01378

            Western District of Wisconsin

      MCI COMMUNICATIONS SERVICES, INC., ET AL. v. AMELIA TELEPHONE
           CORPORATION, ET AL., C.A. No. 3:14-00605
